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                               BEFORE THE JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION


In re: KIA HYUNDAI VEHICLE THEFT )                   MDL Docket No. ___________
LITIGATION                          )
___________________________________ )


MCNERNEY PLAINTIFFS’ MEMORANDUM OF LAW AND FACT IN SUPPORT OF
MOTION FOR TRANSFER AND CONSOLIDATION OF RELATED ACTIONS IN THE
       CENTRAL DISTRICT OF CALIFORNIA, UNDER 28 U.S.C. § 1407

        Plaintiffs Katelyn McNerney, Sherry Mason, Carmi Nelson, Cameron Cunningham, and

Allison Brown (“McNerney Plaintiffs”)1 respectfully submit this Memorandum of Law and Fact

in Support of their motion for transfer and consolidation of related actions in the Central District

of California, under 28 U.S.C. § 1407.

                                   I.      INTRODUCTION

       Pursuant to 28 U.S.C. § 1407, McNerney Plaintiffs seek an Order (i) transferring to the

Central District of California the cases listed in the Schedule of Actions attached as Exhibit A

hereto (the “Related Actions”), and any other tag-along actions asserting similar or related claims

against Kia America, Inc. (“Kia”) and/or Hyundai Motor America (“Hyundai”) involving

allegations that Kia and Hyundai vehicles failed to include immobilizer technology to prevent theft

that may subsequently be filed in or removed to the federal courts; and (ii) consolidating the

Related Actions with the McNerney Action for pretrial discovery and class certification purposes.

Transfer and consolidation in the Central District of California is necessary under Section 1407 to

promote efficient management of the litigation because:



   1
     McNerney Plaintiffs are the named plaintiffs in McNerney v. Kia America, Inc., C.D. Cal No.
8:22-cv-01548 (the “McNerney Action”).

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      The Related Actions involve nearly identical factual allegations that the Covered Vehicles

       (as defined below) are defective because they are not equipped with immobilizer

       technology to deter theft, and all actions bring largely duplicative legal claims. Thus,

       discovery in all of the Related Actions will necessarily focus on the same documents,

       witnesses, and other evidence pertaining to Kia and Hyundai’s knowledge of problems that

       would result from the omission of immobilizer technology in the Covered Vehicles, and

       Kia and Hyundai’s decision to omit immobilizer technology despite this knowledge.

       Absent consolidation, duplicative discovery and potentially conflicting dispositive legal

       rulings may result.

      The Related Actions involve overlapping putative classes, as nearly all of the 16 actions

       seek to certify nationwide classes of vehicle owners. Absent consolidation, 14 federal

       district courts could issue conflicting class certification rulings.

      The Central District of California is where Kia and Hyundai’s headquarters are located.

      The Central District of California is where most relevant documents and witnesses are

       located.

      No other district has more cases pending than the Central District of California.2

      The Central District of California was previously selected as the most appropriate

       jurisdiction for a prior MDL involving Kia and Hyundai because “Hyundai Motor America,

       Inc., and Kia Motors America, Inc. are headquartered in that district, and relevant

       documents and witnesses likely will be found there.” In re ZF-TRW Airbag Control Units

       Products Liab. Litig., 410 F. Supp. 3d 1357, 1360 (J.P.M.L. 2019).



   2
     Although the Western District of Missouri also has two pending cases, that court has no
connection to Kia or Hyundai.
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                                     II.    BACKGROUND

A.       Factual Background

         At issue are vehicles sold or leased nationwide by Kia and Hyundai that do not include

immobilizer technology to deter theft. These vehicles include 2011-2022 Kia vehicles and 2015-

2022 Hyundai vehicles equipped with traditional “insert-and-turn” steel key ignition systems

(collectively, the “Covered Vehicles”). Unlike most vehicles, the Covered Vehicles are not

equipped with an “immobilizer” preventing them from being started unless a code is transmitted

from the Vehicle’s specific smart key. This security vulnerability (the “Defect”) makes the

Covered Vehicles incredibly easy to steal, allowing thieves to steal Covered Vehicles by simply

opening the steering columns (by removing a panel) and using a common USB charging cord or

similar metal object to start the engine. Viral videos on TikTok and YouTube give step-by-step

instructions on how to steal Covered Vehicles without a key, and reports of stolen Kia and Hyundai

Vehicles have skyrocketed across the country. In fact, the “Kia Challenge,” widely shared on social

media platforms, dares people to break in and then use a USB cord to start Covered Vehicles. The

videos show teens and young adults going for joy rides and in some cases, even abandoning or

crashing Covered Vehicles. The incidents have turned dangerous, with suspects and bystanders

being seriously injured or killed following unsafe driving and crashes related to the thefts.3

         Plaintiffs allege that Kia and Hyundai knew of the above-described defects for years, but

nonetheless continued to manufacture, sell, and lease Covered Vehicles to unsuspecting customers.

B.       Procedural History of the Pending Actions

         On August 19, 2022, McNerney Plaintiffs filed a proposed class action on behalf of a



     3
     In Milwaukee, where Plaintiff McNerney’s Vehicle was stolen, 66% of vehicle thefts involve
either Kia and Hyundai models. https://www.wisn.com/article/thefts-of-kia-hyundai-explode-
2500-in-milwaukee/36756668# (last accessed August 31, 2022).
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nationwide class, and Illinois and Ohio subclasses, of persons and entities who purchased or leased

vehicles manufactured by Kia and Hyundai that were not equipped with an immobilizer.

McNerney Plaintiffs assert claims for breach of implied warranties, violations of the Magnusson

Moss Act, violations of the California Consumer Legal Remedies Act, Violations of California’s

Unfair Competition Law, and unjust enrichment.

        In roughly the same month McNerney Plaintiffs filed suit, 14 other cases were filed across

the country purporting to represent nationwide classes and/or state-specific subclasses. Notably,

the Central District of California is one of only two districts with more than one case pending.

Because each of these cases was filed in the same month, none has progressed to motion practice

or discovery. See In re BP p.l.c. Sec. Litig., 734 F. Supp. 2d 1376, 1379 (J.P.M.L. 2010) (where

“actions in this docket are at an early stage, transfer to another district should not be unduly

disruptive”).

        Only one Related Action has advanced to motion practice. That case, Marvin, v. Kia

America, Inc., E.D. Wis. No. 2:21-cv-1146, was filed in October 2021 in the Eastern District of

Wisconsin on behalf of a Wisconsin-only class of purchasers and lessees of Covered Vehicles, and

asserts claims primarily based on Wisconsin statutes. However, as Kia and Hyundai point out in

their reply memorandum supporting their pending motion to dismiss, the Marvin plaintiffs “seek

to apply a unique standard to one State’s consumers.” E.D. Wis. No. 2:21-cv-1146, ECF No. 32,

p. 3.

        Although McNerney Plaintiffs know of no other related cases pending in federal courts

other than those listed in Exhibit A as of the date of this filing, Kia and Hyundai are best situated

to inform the Panel whether there are any other class actions in federal district courts that raise the

same or similar claims.



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                                      III.    ARGUMENT

A.     Transferring the Pending Class Actions for Coordinated Pretrial Proceedings is
       Proper

       The principal goals of 28 U.S.C. § 1407 are to avoid duplicative discovery, prevent

inconsistent or repetitive rulings, promote efficient management of litigation, and conserve the

resources of the parties, counsel, and the courts. See MANUAL ON COMPLEX LITIGATION § 22.33

at 367 (4th ed. 2004). These goals are best served by transferring the Related Actions for

coordinated pretrial proceedings.     28 U.S.C. § 1407 authorizes this Panel to transfer and

consolidate two or more civil cases for coordinated pretrial proceedings upon the determination

that (i) they “involv[e] one or more common questions of fact,” (ii) transfer will further “the

convenience of parties and witnesses,” and (iii) transfer “will promote the just and efficient

conduct of such actions.” 28 U.S.C. § 1407(a).

       Here, Section 1407’s requirements for transfer are satisfied. The above-referenced class

actions against Kia and Hyundai are based on the same or substantially similar questions of law

and fact. In addition, transfer will promote the convenience of the parties and efficiency in the

pretrial proceedings by eliminating duplicative discovery and the potential for inconsistent rulings,

including determinations on class certification. Indeed, because all of the actions assert complex,

yet virtually identical claims and allegations requiring substantial discovery into highly technical

aspects of Kia and Hyundai’s manufacturing, testing, and sales procedures, they are ideal

candidates for transfer for coordinated or consolidated pretrial proceedings.

       1.      The related actions involve common questions of fact.

       The first requirement of Section 1407 — that actions involve common questions of fact —

is satisfied. The factual issues to be determined in each of the actions proposed for transfer and

coordination arise from the same course of conduct by Kia and Hyundai and are, therefore,

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identical for pretrial purposes. See In re Publ’n Paper Antitrust Litig., 346 F. Supp. 2d 1370, 1371

(J.P.M.L. 2004). Common questions of fact and law at issue in the related actions include, but are

not limited to, the following:

       a. whether each Covered Vehicle was sold with the defect;

       b. whether Kia and Hyundai knew about the defect, and if so, how long they have known

            about the defect;

       c. whether Kia and Hyundai failed to disclose and/or concealed the defect;

       d. whether the defect in the Covered Vehicles is a safety and/or security defect that created

            a foreseeable risk of harm to putative class members;

       e. whether Kia and Hyundai breached implied warranties made to putative class members;

       f. whether the defect reduces the value of the Covered Vehicles;

       g. whether Kia and Hyundai’s conduct violates state consumer protections statutes; and

       h. whether putative class members have suffered damages as a result of the Kia and

            Hyundai’s conduct, and if so, the measure of such damage.

Even a cursory review of the pleadings reveals that the factual issues to be determined in each of

the actions are nearly identical, making transfer to a single forum highly appropriate.4

       2.      Consolidating the class actions will further the convenience of the parties and
               the witnesses.

       Consolidation of the related class actions would likewise satisfy the second requirement of



   4
      See In re Neurontin Mktg. & Sales Practices Litig., 342 F. Supp. 2d 1350, 1351 (J.P.M.L.
2004) (finding existence of common issues to warrant transfer where “[a]ll actions are purported
class actions involving allegations that common defendants have engaged in the illegal promotion
and sale of the drug Nuerontin”); In re Ephedra Prods. Liab. Litig., 314 F. Supp. 2d 1373, 1375
(J.P.M.L. 2004) (“Common factual questions arise because these actions focus on alleged side
effects of ephedra-containing products, and whether defendants knew of these side effects and
either concealed, misrepresented or failed to warn of them.”).

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Section 1407 because it will serve the convenience of the parties and witnesses. Discovery in all

of the Related Actions will necessarily focus on documents, witnesses and other evidence

pertaining to Kia and Hyundai’s testing and development of the Covered Vehicles and decision

not to include immobilizer technology, and Kia and Hyundai’s knowledge of problems regarding

the ease with which thieves could steal the Covered Vehicles without immobilizer technology.

These subjects are complex and highly technical and will require substantial discovery and entail

significant expense. Because these actions arise from a common core of factual allegations, there

is a strong likelihood of duplicative discovery demands and redundant depositions. Additionally,

McNerney Plaintiffs anticipate additional actions will be filed as more Covered Vehicles are stolen

and additional press coverage of those thefts affect insurance rates.5 Coordination of the actions

would enable a single District Judge to establish a single pretrial schedule, thereby minimizing

inconvenience to witnesses and expense to parties.

       3.      Transfer and consolidation will promote just and efficient conduct of the
               related actions.

       For these same reasons, transfer and coordination would also promote the just and efficient

adjudication of the Related Actions. The Related Actions all raise common questions of fact and

law. Plaintiffs in each action will likely seek to depose many of the same individuals and request

production of a substantially similar set of documents. Failure to consolidate these actions would,

therefore, result in unnecessary and duplicative discovery; witnesses would have to appear for

multiple depositions and Kia and Hyundai would have to negotiate and produce multiple sets of

overlapping documents. Consolidation and coordination of the actions would avoid this needless



5
  The rate at which the Covered Vehicles are being stolen is so high that certain auto insurance
companies are either refusing to insure the Covered Vehicles or have raised their rates to insure a
Covered Vehicle. See https://www.theautopian.com/progressive-reportedly-wont-insure-some-
kias-and-hyundais-because-theyre-too-easy-to-steal/ (last accessed August 31, 2022).
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waste of resources and confer benefits upon both the plaintiffs as well as Kia and Hyundai, the

common defendants to all of the actions. See In re Univ. Serv. Fund Tel. Billing Prac. Litig., 209

F. Supp. 2d 1385, 1386 (J.P.M.L. 2002).

       Also, the fact that nearly all actions seek to certify overlapping nationwide classes opens

the possibility of inconsistent rulings on certification issues and weighs heavily in favor of transfer

and consolidation.    Lastly, the defects at issue are complex and highly technical and will

necessarily require extensive use of experts and a substantial amount expensive discovery. See In

re Clark Oil & Refining Corp. Antitrust Litig., 364 F. Supp. 458, 459 (J.P.M.L. 1973) (ordering

consolidation of two actions because “the greater complexity of factual issues presented here and

the presence of competing requests for class designation distinguish this litigation from the Scotch

Whiskey cases and make transfer necessary in order to avoid duplication of discovery and

eliminate the possibility of conflicting pretrial rulings.”); In re Nissan Motor Corp. Antitrust Litig.,

352 F. Supp. 960, 961 (J.P.M.L. 1973) (similar). To avoid the possibility of inconsistent rulings

(including inconsistent determinations on class certification) and duplicative discovery, as well

needless taxation on the judicial system, the actions should be consolidated before the same court.

See Neurontim, 342 F. Supp. 2d at 1351; Ephedra, 314 F. Supp. 2d at 1375; In re European Rail

Pass Antitrust Litig., MDL No. 1386, 2001 WL 587855, at *1 (J.P.M.L. Feb. 7, 2001) (transferring

related actions to single district to “eliminate duplicative discovery, prevent inconsistent pretrial

rulings, and conserve the resources of the parties, their counsel and the judiciary”).

B.     The Related Actions Should Be Transferred to the Central District of California for
       Coordinated or Consolidated Pretrial Proceedings Before the Honorable Cormac
       Carney

       In selecting a transferee district, this Panel generally considers “where the largest number

of cases is pending, where discovery has occurred, where cases have progressed furthest, the site



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of the occurrence of the common facts, where the cost and inconvenience will be minimized, and

the experience, skill, and caseloads of available judges.” MANUAL ON COMPLEX LITIGATION §

20.131 (4th ed. 2004). The balance of these factors weigh in favor of transferring the related cases

to Judge Carney in the Central District of California.

         The 16 cases that have been filed to date are filed in 14 judicial districts. No district has

more pending cases than the Central District of California. Therefore, this factor weighs in favor

of the Central District of California. The next factor, where discovery has occurred, favors no

district because to the best of counsel’s knowledge, no discovery has taken place in any Related

Case at this point. While it is true that this Panel sometimes transfers actions to the court where a

related action is the most procedurally advanced, the Wisconsin action is still at the motion to

dismiss stage and is uniquely focused on Wisconsin law. See, e.g., In re Midland Nat’l Life Ins.

Co. Annuity Sales Practices Litig., 484 F. Supp. 2d 1355, 1356 (J.P.M.L. 2007) (selecting the

Central District of California, noting that the California action was broader). All other Related

Cases were filed virtually simultaneously and nothing substantive has taken place in any of the

cases.

         All other important considerations weigh in favor of transferring the Related Actions to the

Central District of California. Here, although there is no singular geographical focal point for this

litigation — Kia and Hyundai sold Covered Vehicles across the nation — both Kia and Hyundai

have their headquarters in the Central District of California (where most of the discovery will

necessarily focus). Not surprisingly, for this reason, the Central District of California was recently

chosen for another MDL involving Kia and Hyundai. See ZF-TRW, 410 F. Supp. 3d at 1360. This

Panel has frequently highlighted the importance of factors such as the defendant’s location, the

locations of relevant documents, the centrality of the location for the convenience of the parties



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and the location of witnesses, and the skill and experience of the trial judge. See id. (“Hyundai

Motor America, Inc., and Kia Motors America, Inc. are headquartered in that district, and relevant

documents and witnesses likely will be found there”); In re Kaplan Higher Educ. Corp. qui tam

Litigation, 626 F. Supp. 2d 1323, 1324 (J.P.M.L. 2009) (“We are persuaded that the Southern

District of Florida is an appropriate transferee forum. The Southern District of Florida is where

witnesses and documents may be found, inasmuch as Kaplan maintains a headquarters and a place

of business there.”); In re Chocolate Confectionary Antitrust Litig., 542 F. Supp. 2d 1376, 1377

(J.P.M.L. 2008) (similar).

       Each of these factors support the Central District of California as the transferee district,

where the cases can be managed by Judge Carney, a respected jurist with experience handling

automotive MDLs. See In re Toyota Motor Corp. Hybrid Brake Mktg., Sales Practices, and Prods.

Liab. Litig., 732 F. Supp. 2d 1375, 1377 (J.P.M.L. 2010) (transferring and assigning cases “to the

Honorable Cormac J. Carney for coordinated or consolidated pretrial proceedings”). Notably,

Judge Carney is not currently overseeing an MDL. Moreover, the Central District of California

and surrounding region are serviced by multiple airports and all major airlines, and would be

accessible and convenient for all parties, witnesses, and attorneys.

                                     IV.     CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that this Panel transfer the

Related Actions listed in the Schedule of Actions attached as Exhibit A and any subsequently filed

cases raising similar claims to the Central District of California for coordinated pretrial

proceedings before the Honorable Cormac Carney.




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Dated: August 31, 2022       Respectfully submitted,

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